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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                            CRIMINAL ACTION NO.: 3:13-CR-23-3
                                                (GROH)

  ADRIAN DEVONNE GREEN,

                Defendant.


        ORDER DENYING MOTION FOR EARLY TERMINATION OF PROBATION

         Now before the Court is a letter [ECF No. 510], drafted by the pro se Defendant and

  construed as a Motion for Early Termination of Probation, wherein the Defendant moves

  the Court to terminate his five-year term of probation. As of the date of this Order, the

  Defendant has served approximately one year and ten months of his five-year term.

         After considering the applicable factors set forth in 18 U.S.C. § 3553(a), this Court

  “may, pursuant to the provisions of the Federal Rules of Criminal Procedure relating to the

  modification of probation, terminate a term of probation previously ordered and discharge

  the defendant at any time in the case of a misdemeanor or an infraction or at any time after

  the expiration of one year of probation in the case of a felony, if it is satisfied that such

  action is warranted by the conduct of the defendant and the interest of justice.” 18 U.S.C.

  § 3564(c).

         In the instant motion, the Defendant informs the Court that he and his wife have

  recently suffered a terrible tragedy and are beset by serious personal and family troubles.

  In addition, the Defendant avers that he has maintained steady employment for over four
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  years and is working towards obtaining his bachelor’s degree. The Court empathizes with

  the Defendant’s personal struggles and recognizes his positive achievements. However,

  the Court believes that continued compliance with the conditions of probation is both

  necessary and appropriate in this case. The five-year term of probation imposed by this

  Court on January 13, 2014, was intended, in part, to assist the Defendant in maintaining

  a successful, law-abiding lifestyle. Furthermore, the Court considered the Defendant’s

  personal and family situation in imposing a term of probation, which constituted a variant

  sentence below the advisory U.S. Sentencing Guidelines range.

        Accordingly, the Court ORDERS that the Defendant’s pro se Motion for Early

  Termination of Probation [ECF No. 510] is DENIED.

        The Clerk is DIRECTED to transmit copies of this Order to all pro se parties and

  counsel of record herein.

        DATED: November 18, 2015




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